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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   2:09-CR-00074-JAM
12                Plaintiff,
13                                                ORDER OF FORFEITURE
            v.
14
15    DUANE ALLEN EDDINGS ,

16                 Defendant.

17
18         The Court hereby imposes a personal forfeiture money judgment against
19 defendant Duane Allen Eddings in the amount of $2,199,274 pursuant to Fed. R. Crim.
20 P. 32.2(b), 18 U.S.C. § 982(a)(1), 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461(c). Any
21 funds applied towards such judgment shall be forfeited to the United States of America
22 and disposed of as provided for by law. Prior to the imposition of sentence, any funds
23 delivered to the United States to satisfy the personal money judgment shall be seized
24 and held by the U.S. Postal Inspection Service, in its secure custody and control.
25         IT IS SO ORDERED.
26 DATED: 4/5/2012                                /s/ John A. Mendez
                                                  JOHN A. MENDEZ
27                                                United States District Judge
28

                                              1                               Order of Forfeiture
